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                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF ARKANSAS
                          FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                           PLAINTIFF

VS.                      CASE NO. 5:14CR50069-004

SPENCER MASON                                                      DEFENDANT


             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

      Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3),

Local Rule 72.1 ¶ XII, and General Order No. 40, this matter was

referred to the undersigned for the purposes of conducting a plea

hearing pursuant to Rule 11 of the Federal Rules of Criminal

Procedure.    Such a hearing was conducted on February 6, 2015, and,

pursuant to a written plea agreement, the Defendant, Spencer Mason,

entered a plea of guilty to Count One of the Indictment charging

him with conspiring to commit bank fraud, in violation of 18 U.S.C.

§ 1349, and Count Three of the Indictment, charging him with

possession of stolen mail matter, in violation of 18 U.S.C. § 1708.

The plea agreement provides that if the court accepts the plea

agreement, once the court has pronounced sentence, the Government

will move to dismiss the forfeiture allegation contained in the

Indictment.     After conducting the hearing in the form and manner

prescribed by Rule 11, the undersigned finds:

      1.     The Defendant, after consultation with his counsel, has

knowingly and voluntarily consented, both in the plea agreement and

on the record at the hearing, to the entry of his guilty plea
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before the undersigned, with the plea being subject to final

approval by     United States District Judge Timothy L. Brooks.

      2.    The Defendant and the Government have entered into a

written plea agreement which has been disclosed in open court

pursuant to Rule 11(c)(2), and the undersigned has directed that

the plea agreement be filed.

      3.    The Defendant is fully competent and capable of entering

an informed plea; the Defendant is aware of the nature of the

charges, the applicable maximum penalties, and the consequences of

the plea; the Defendant is fully satisfied with his counsel and has

had sufficient time to consult with him; and the plea of guilty is

a knowing and voluntary plea supported by an independent basis in

fact containing each of the essential elements of the offenses.

      4.    The   Defendant     understands     his     constitutional      and

statutory rights and wishes to waive these rights.

      5.    The parties were informed of their right to file written

objections within fourteen (14) days after receipt of this Report

and Recommendation. To expedite acceptance of the guilty plea, the

parties waived, both on the record and in the plea agreement, their

right to file objections.

      Based on the foregoing, the undersigned recommends that the

guilty plea be accepted and that the written plea agreement be

tentatively approved, subject to final approval at sentencing.
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      DATED this 10th day of February, 2015.



                                          /s/ Erin L. Setser
                                          HON. ERIN L. SETSER
                                          UNITED STATES MAGISTRATE JUDGE
